 Case 2:21-cv-00586-JLB-MRM Document 28 Filed 01/04/22 Page 1 of 5 PageID 94




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

LEONARD CHOCHOLEK, an
individual,

               Plaintiff,
vs.                                              CASE NO.: 2:21-cv-00586-JLB-MRM

WESTERN FLORIDA LIGHTING,
INC., a Florida profit corporation, and
TIMOTHY GREENE, an individual,

      Defendants.
___________________________

                             Uniform Case Management Report

       The goal of this case management report is to “secure the just, speedy, and
inexpensive determination of” the action. See Fed. R. Civ. P. 1. Under Local Rule
3.02(a)(2), this case management report should be used in all civil cases except those
described in Local Rule 3.02(d). Individual judges may have additional case
management preferences that can be found under each judge’s name on the Court’s
website, flmd.uscourts.gov/judges/all.

1. Date and Attendees

      The parties may conduct the planning conference “in person, by telephone, or by
      comparable means[.]” See Local Rule 3.02(a)(1).

      The parties conducted the planning conference following mediation/via e-mail
      correspondence. Bradley P. Rothman, Esq., Whitney DuPree, Esq. and Jesse I.
      Unruh, Esq. conferred regarding the Uniform Case Management Report.

2. Deadlines and Dates

      The parties request these deadlines and dates:
Case 2:21-cv-00586-JLB-MRM Document 28 Filed 01/04/22 Page 2 of 5 PageID 95




  Action or Event                                                              Date

  Deadline for providing mandatory initial disclosures. See Fed. R. Civ.
                                                                               1/18/2022
  P. 26(a)(1).

  Deadline for moving to join a party, see Fed. R. Civ. P. 14, 19, and 20,
                                                                                2/4/2022
  or amend the pleadings, see Fed. R. Civ. P. 15(a).

  Plaintiff’s deadline for disclosing any expert report. See Fed. R. Civ. P.    9/8/2022
  26(a)(2).

  Defendant’s deadline for disclosing any expert report.                       9/22/2022

  Deadline for disclosing any rebuttal expert report.                          9/22/2022

  Deadline for completing discovery and filing any motion to compel
                                                                               11/1/2022
  discovery. See Fed. R. Civ. P. 37; Middle District Discovery (2021).

  Deadline for moving for class certification, if applicable. See Fed. R.         N/A
  Civ. P. 23(c).

  Deadline for filing any dispositive and Daubert motion. See Fed. R.
                                                                                9/1/2022
  Civ. P. 56. (Must be at least five months before requested trial date.)

  Deadline for participating in mediation. See Local Rules, ch. 4.             Completed

  Date of the final pretrial meeting. See Local Rule 3.06(a).                  1/13/2023

  Deadline for filing the joint final pretrial statement, any motion in
  limine, proposed jury instructions, and verdict form. See Local Rule
                                                                               1/20/2023
  3.06(b). (Must be at least seven days before the final pretrial
  conference.)

  Date of the final pretrial conference. See Fed. R. Civ. P. 16(e); Local
                                                                               1/27/2023
  Rule 3.06(b).

  Month and year of the trial term.                                             2/1/2023


  The trial will last approximately 3-4 days and be

  X jury.
  ☐ non-jury.




                                              2
 Case 2:21-cv-00586-JLB-MRM Document 28 Filed 01/04/22 Page 3 of 5 PageID 96




3.      Description of the Action

     PLAINTIFF BRINGS THIS ACTION AGAINST DEFENDANTS FOR NEGLIGENT
     MISREPRESENTATION AND FRAUDULENT CONCEALMENT ARISING OUT OF THE
     EMPLOYMENT RELATIONSHIP WITH DEFENDANTS.



4.      Disclosure Statement

     X The parties have filed their disclosure statement as required by Federal Rule of
     Civil Procedure 7.1 and Local Rule 3.03.

5.      Related Action

     X The parties acknowledge their continuing duty under Local Rule 1.07(c) to
     notify the judge of a related action pending in the Middle District or elsewhere by
     filing a “Notice of a Related Action.” No notice need be filed if there are no
     related actions as defined by the rule.

6.      Consent to a Magistrate Judge

     “A United States magistrate judge in the Middle District can exercise the maximum
     authority and perform any duty permitted by the Constitution and other laws of the
     United States.” Local Rule 1.02(a). With the parties’ consent, a district judge can refer
     any civil matter to a magistrate judge for any or all proceedings, including a non-jury or
     jury trial. 28 U.S.C. § 636(c).

     The Court asks the parties and counsel to consider the benefits to the parties and the
     Court of consenting to proceed before a magistrate judge. Consent can provide the
     parties certainty and flexibility in scheduling. Consent is voluntary, and a party for any
     reason can decide not to consent and continue before the district judge without adverse
     consequences. See Fed. R. Civ. P. 73(b)(2).

     ☐ The parties do consent and file with this case management report a completed
     Form AO 85 “Notice, Consent, and Reference of a Civil Action to a Magistrate
     Judge,” which is available on the Court’s website under “Forms.”
     X The parties do not consent.

7.      Preliminary Pretrial Conference

     X The parties do not request a preliminary pretrial conference before the Court
     enters a scheduling order.



                                               3
 Case 2:21-cv-00586-JLB-MRM Document 28 Filed 01/04/22 Page 4 of 5 PageID 97




   ☐ The parties do request a preliminary pretrial conference, and the parties want
   to discuss enter discussion points.
8.     Discovery Practice

     The parties should read the Middle District Discovery Handbook, available on the
     Court’s website at flmd.uscourts.gov/civil-discovery-handbook, to understand discovery
     practice in this District.

     X The parties confirm they will comply with their duty to confer with the
     opposing party in a good faith effort to resolve any discovery dispute before filing
     a motion. See Local Rule 3.01(g); Middle District Discovery (2021) at § I.A.2.

9.      Discovery Plan

     The parties submit the following discovery plan under Rule 26(f)(2):

     A. The parties agree to the timing, form, or requirement for disclosures under
         Rule 26(a):

           X Yes.
           ☐ No; instead, the parties agree to these changes: enter changes.

     B. Discovery may be needed on these subjects: Defendants' alleged promises,
         alleged false representations, and alleged effort to conceal information
         from Plaintiff relating to the offer of employment as alleged in the
         Complaint. Plaintiff’s understanding of the nature of the employment.

     C. Discovery should be conducted in phases:

           X No.
           ☐ Yes; describe the suggested phases.

     D. Are there issues about disclosure, discovery, or preservation of
         electronically stored information?

           X No.
           ☐ Yes; describe the issue(s).

     E. X The parties have considered privilege and work-product issues, including
          whether to ask the Court to include any agreement in an order under
          Federal Rule of Evidence 502(d).



                                             4
 Case 2:21-cv-00586-JLB-MRM Document 28 Filed 01/04/22 Page 5 of 5 PageID 98




      F. The parties stipulate to changes to the limitations on discovery imposed
          under the Federal Rules of Civil Procedure and Local Rule 3.04 or other
          limitations:

           X No.
           ☐ Yes; describe the stipulation.

10.      Request for Special Handling

      X The parties do not request special handling.
      ☐ The parties request special handling. Specifically, describe requested special
      handling.
      ☐ Enter party’s name unilaterally requests special handling. Specifically, describe
      requested special handling.

11.      Certification of familiarity with the Local Rules

      X The parties certify that they have read and are familiar with the Court’s Local
      Rules.

12.      Signatures

Dated: January 4, 2022

 s/ Bradley P. Rothman                            s/ Jesse I. Unruh
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